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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 BIOMÉRIEUX, S.A., BIOMÉRIEUX, INC.,

                     Plaintiffs,

 v.                                                           C.A. No. 18-21-LPS-CJB

 HOLOGIC, INC., GRIFOLS S.A., and GRIFOLS
 DIAGNOSTIC SOLUTIONS INC.,

                     Defendants.


                           STIPULATION AND [PROPOSED] ORDER

          IT IS HEREBY STIPULATED AND AGREED by the parties hereto, through the

 undersigned counsel, and subject to the approval of the Court, that the parties shall comply with

 the following briefing schedule regarding Defendants’ forthcoming motion to sever their license

 defense pursuant to Rule 42(b) of the Federal Rules of Civil Procedure:

          1. Defendants’ Motion and Opening Brief to be served by May 31, 2018.

          2. Plaintiffs’ Response Brief to be served by June 21, 2018.

          3. Defendants’ Reply Brief to be served by July 2, 2018.




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 Dated: May 11, 2018

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 SO ORDERED this _____ day of ____________________, 2018



                                             ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE




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